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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



   Legal Sea Foods, LLC
         Plaintiff
                                                   CIVIL ACTION
                V.
                                                   NO. 20-cv-10850 – NMG
Strathmore Insurance Company
        Defendant


                              ORDER OF DISMISSAL


Gorton, D. J.


       In accordance with the Court's Memorandum and Order dated March 5, 2021, it
is hereby ORDERED that the above-entitled action be and hereby is dismissed.



                                             By the Court,


3/8/2021                                     /s/ Leonardo T. Vieira
Date                                         Deputy Clerk
